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 1                                                     THE HONORABLE RICARDO S. MARTINEZ
 2

 3

 4

 5

 6
                                IN THE UNITED STATES DISTRICT COURT
 7                        IN AND FOR THE WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 8
     MARY J. JOHNSON, individually and on                  CASE NO. 2:17-cv-00541-RSM
 9   behalf of all others similarly situated,
                                                           PLAINTIFF’S UNOPPOSED MOTION
10                                        Plaintiff,       FOR FINAL APPROVAL OF
                                                           STIPULATION AND AGREEMENT OF
11            vs.                                          SETTLEMENT AND FINAL
                                                           CERTIFICATION OF THE
12   METRO-GOLDWYN-MAYER STUDIOS                           SETTLEMENT CLASS
     INC.; AND TWENTIETH CENTURY FOX
13   HOME ENTERTAINMENT, LLC,                              NOTE ON MOTION CALENDAR:
14                                     Defendants.         JULY 27, 2018
15
              Pursuant to Rules 23(a), 23(b)(2), and 23(e) of the Federal Rules of Civil Procedure (the
16
     “Fed. R. Civ. P.”), and this Court’s Preliminary Approval Order (Dkt. No. 49) (the
17

18   “Preliminary Approval Order”), Plaintiff, individually and on behalf of those similarly

19   situated, moves this Court for a final order: approving the Stipulation and Agreement of
20   Settlement (the “Settlement Agreement”) and certifying the Settlement Class.1            Plaintiff
21
     concurrently herewith files her Unopposed Motion for Attorneys’ Fees and Expenses and Named
22
     Plaintiff Enhancement Award, which, pursuant to the Settlement Agreement, Defendants, Metro-
23
     Goldwyn-Mayer Studios Inc. (“MGM”) and Twentieth Century Fox Home Entertainment LLC
24

25   (“20th Century Fox”) do not oppose. MGM and 20th Century Fox are from time to time

26   1
       Capitalized terms used herein and not otherwise defined herein shall have the meaning ascribed
     to them in the Settlement Agreement.

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 1   collectively referred to as “Defendants” and Plaintiff, MGM and 20th Century Fox are from time
 2   to time collectively referred to as the “Parties.”
 3
              In addition, Plaintiff requests that this Court enter a Final Judgment awarding Settlement
 4
     Class Relief to be carried out by Defendants according to the terms of the Settlement Agreement,
 5
     and dismissing with prejudice all Settlement Class Relief Claims. Defendants do not oppose this
 6

 7   Motion.

 8            An Unopposed Memorandum in Support is included in this Motion. The Settlement

 9   Agreement (including all attachments thereto) executed by the Parties on or about January 31,
10
     2018 is attached as Exhibit 1.
11
                              UNOPPOSED MEMORANDUM IN SUPPORT
12
              I.          INTRODUCTION
13
              Plaintiff, Mary J. Johnson (“Plaintiff”) submits this Unopposed Motion for Final
14

15   Approval of Settlement pursuant to Fed. R. Civ. P. 23(e). If approved, the Settlement Agreement

16   will resolve all claims against Defendants.
17            The Settlement Agreement is an excellent result for the Class. It provides Plaintiff and
18
     Class Members the full relief sought in their complaint; possession of the 1968 movie entitled
19
     “Casino Royale” with David Niven and the 1983 film entitled “Never Say Never Again.” Class
20
     Members who timely filed a valid Claim Form will receive digital copies of these movies.2 The
21

22   Settlement Agreement also ensures that packaging of future Sets3 will describe the contents of

23   the Sets so that it is clear that any collection does not include these non-franchise movies. This

24
     2
25     Class Members who do not have access to view digital copies, upon filing an affidavit to that
     effect, will receive a DVD of each of the missing movies. 89 claimants have requested and will
26   be send DVDs.
     3
       Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the
     Settlement Agreement.

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 1   result was accomplished within less than one year of Plaintiff’s filing her lawsuit, with the
 2   assistance and guidance of a well-recognized mediator. All counsel for all Parties support this
 3
     Settlement, and it is highly uncertain whether the Settlement Class would be able to obtain and
 4
     keep a better outcome through continued litigation, trial, and appeal. Moreover, while Class
 5
     Counsel believe in the strength of this case, they recognize that there are always uncertainties in
 6

 7   litigation, making compromise of claims in exchange for certain and timely provision to the

 8   Settlement Class of the remedies described herein an unquestionably reasonable outcome.

 9            II.         LITIGATION BACKGROUND
10
              On March 6, 2017, Plaintiff filed her initial class action complaint in King County
11
     Superior Court asserting violation of the Washington Consumer Protection Act, breach of
12
     express warranty and breach of the implied warranty of merchantability. See Dkt. No. 1. On
13
     April 7, 2017, MGM Holdings Inc. (“MGM Holdings”), Metro-Goldwyn-Mayer Studios Inc.
14

15   (“MGM”), Twentieth Century Fox Home Entertainment LLC (“20th Century Fox”) and Twenty-

16   First Century Fox, Inc. (“21st Century Fox”) (the “Initial Defendants”) filed their Notice of
17   Removal to this Court pursuant to the Class Action Fairness Act of 2005 (“CAFA,” 28 U.S.C. §
18
     § 1332(d) & 1453). Id. On April 14, 2017, the Initial Defendants filed their Motion to Dismiss
19
     the Complaint Pursuant to FRCP 12(b)(6) or in the Alternative to Strike The Class Allegations
20
     Pursuant to FRCP 12(f) and 23(d)(1)(D) (the “Motion to Dismiss”). Dkt. No. 17.
21

22            On August 3, 2017, the Court issued its Order Granting in Part and Denying in Part the

23   Initial Defendants’ Motion to Dismiss. Dkt. No. 34. On August 15, 2017, Plaintiff filed a First

24   Amended Class Action Complaint in the United States District Court for the Western District of
25   Washington at Seattle (the “FAC”) in the Action. Dkt. No. 35.
26
              On August 28, 2017, this Court entered a stipulated order continuing Defendants’


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 1   deadline to respond to the FAC to November 15, 2017 to allow the Parties time to mediate their
 2   dispute. On September 19, 2017, this Court entered a stipulated order dismissing without
 3
     prejudice MGM Holdings Inc.; Metro-Goldwyn-Mayer Inc.; and Metro-Goldwyn-Mayer Home
 4
     Entertainment Distribution Corporation and Twenty First Century Fox, Inc.
 5
              The Parties then started to work towards mediation. Prior to the mediation, Defendants
 6

 7   provided Plaintiff and Plaintiff reviewed over 750 pages of documents related to the issues raised

 8   in the FAC. On October 18, 2017, the Parties participated in a full day mediation session with

 9   mediator Robert Fairbank and further participated in additional telephone conferences with the
10
     mediator to resolve this dispute. Plaintiff and Defendants reached an agreement to settle the
11
     claims raised in this Action and presented the Settlement Agreement to this Court for preliminary
12
     approval. This Court preliminary approved the Settlement Agreement on February 26, 2018.
13
     Dkt. No. 49.
14

15            III.        OVERVIEW OF THE SETTLEMENT AGREEMENT

16            The Settlement Agreement is the product of Plaintiff’s thorough review of the documents
17   produced to her by Defendants, and a daylong mediation session with Robert Fairbank as
18
     mediator followed by several additional telephone conferences with him.
19
              The Parties have endeavored to craft a settlement that addresses Plaintiff’s allegations in
20
     the Action, and benefits the Settlement Class as a whole. Further, mindful that discovery was
21

22   conducted on an expedited basis and therefore limited in scope, Plaintiff’s’ counsel required that

23   Defendants produce confirmatory discovery to validate her previous findings.

24                        1.   Class Settlement Relief
25            Pursuant to the Settlement Agreement, all Authorized Claimants will receive one digital
26
     copy of each of the Non-Franchise Films. If a claimant signs an affidavit stating under penalty


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 1   of perjury that he/she does not have access to view a digital copy , then the claimant will receive
 2   one DVD of each of the Non-Franchise Films. 89 claimants requested and will received DVD
 3
     copies. In order to receive the Class Settlement Relief, a Class Member will have to submit a
 4
     Claim Form to be reviewed and processed by the Settlement Administrator. A claimant is an
 5
     Authorized Claimant if he/she timely signs and submits the Claim Form under penalty of perjury
 6

 7   attesting to the purchase of one or more James Bond Sets prior to January 31, 2018 and provides

 8   proof of that purchase. Proof of purchase is established by a receipt, invoice, or other document

 9   showing proof of purchase. The parties instructed the Settlement Administrator to construe this
10
     broadly; anything that was submitted to establish proof of purchase was accepted. Keough Decl.
11
     ¶18(b).
12
               Any Class Member who is not an Authorized Claimant and who does not file a valid
13
     Request for Exclusion will not be entitled to receive the Class Settlement Relief but will
14

15   otherwise be bound by all of the terms of this Stipulation and the Settlement, including the

16   Releases provided for herein, and will be barred from bringing any action against the Released
17   Parties concerning the Released Claims. No requests for exclusion were received. Keough Decl.
18
     ¶14.
19
                          2.   Future Packaging
20
               Defendants have agreed to modify future packaging to as follows: For any James Bond
21

22   Set shipped by Defendants in the United States after January 31, 2018, Defendants will only use

23   the terms “all” or “every” in describing the included films on the packaging when it is clear from

24   the packaging that it refers to the Franchise Films. For avoidance of doubt, this does not apply to
25   use of the terms “all” or “every” in regard to any other aspect of the set (e.g., all Daniel Craig
26
     James Bond films; all HD films).


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 1            In exchange for the above stated benefits, the Releasing Parties have agreed, subject to
 2   this Court’s approval, to the entry of final judgment in this Action and to fully, finally and
 3
     forever release, relinquish, and discharge the Released Parties with respect to each and every
 4
     Released Claim and to forever be enjoined from prosecuting any of the Released Claims with
 5
     respect to each and every Released Party and covenant not to sue any of the Released Parties
 6

 7   with respect to any of the Released Claims.

 8                        3.   Attorney Fees and Costs

 9            After negotiating the terms of the Settlement Agreement, Defendants agreed that they
10
     would not oppose or object to Class Counsel’s application for all attorneys’ fees, costs and
11
     expenses in an amount up to $350,000, in the aggregate. The agreement with respect to
12
     attorneys’ fees, costs and expenses was negotiated after the substantive terms of the Settlement
13
     Agreement, including the Class Settlement Relief, had been negotiated and agreed upon in the
14

15   Settlement Agreement. The attorneys’ fees and costs are reasonably calculated and once this

16   Action is concluded, will be at or close to the actual fees and costs that Class Counsel will have
17   expended in this Action.
18
              In addition to the Settlement Class Relief that will benefit Plaintiff as well as Settlement
19
     Class Members, Defendants also have agreed not to oppose an Incentive Payment Award to the
20
     Plaintiff in the amount of $5,000. The Incentive Payment Award compensates Plaintiff solely for
21

22   the time and effort undertaken by her on behalf of Class Members in connection with this Action

23   and shall not be considered reimbursement or compensation for any damages, or any relief

24   sought in the Action.       The agreement with respect to the Incentive Payment Award was
25   negotiated after the substantive terms of the settlement, including the Settlement Class Relief,
26
     had been negotiated and agreed upon.


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 1            Pursuant to Fed. R. Civ. P. 23(h), Plaintiff has filed contemporaneously herewith a
 2   separate motion seeking Court approval of the attorneys’ fees and costs award and Plaintiff’s
 3
     Incentive Payment Award.
 4
              IV.         PRELIMINARY APPROVAL
 5
              On February 26, 2018, this Court entered the Preliminary Approval Order. Dkt. No. 49.
 6

 7   In its Preliminary Approval Order, pursuant to F.R.C.P. 23(b)(3), the Court preliminary certified

 8   for settlement purposes the following Settlement Class:

 9            All persons and entities (and their successors-in-interest, assigns, and heirs) in the
              United States that purchased one or more of the James Bond Sets prior to January
10
              31, 2018. Excluded from the Settlement Class are: MGM and Fox and any
11            person, trust, firm, corporation or other entity Affiliated with or related to MGM
              and Fox; and Any persons or entities who exclude themselves by submitting a
12            timely Request for Exclusion in accordance with the requirements set forth by the
              Court.
13
              Dkt. No. 49 p. 2, ¶4.
14

15            In addition, this Court approved the Notice and the Notice Program set forth in the

16   Settlement Agreement to provide notice of the settlement. In doing so, the court determined that

17   the Notice and Notice Program satisfy the requirements of due process and Federal Rule of Civil
18   Procedure 23 and provide the best notice practicable under the circumstances. The Court further
19
     found that the Notice, the Publication Notice and Notice Plan are reasonably calculated to
20
     apprise Settlement Class Members of the nature of this litigation, the scope of the Settlement
21
     Class, the terms of the Settlement Agreement, the right of Settlement Class Members to object to
22

23   the Settlement Agreement or exclude themselves from the Settlement Class and the process for

24   doing so, and of the Final Approval Hearing.

25

26



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 1            V.          STANDARDS FOR           FINAL       APPROVAL          OF     CLASS       ACTION
                          SETTLEMENTS
 2
              Pursuant to Federal Rule of Civil Procedure 23(e), class actions “may be settled,
 3

 4   voluntarily dismissed, or compromised only with the court’s approval.” The law favors

 5   settlement, particularly in class actions and other complex cases. Van Bronkhorst v. Safeco
 6   Corp., 529 F.2d 943, 950 (9th Cir. 1976). Final approval of a proposed class action settlement
 7
     will be granted where it is established that the proposed settlement is “fair, reasonable, and
 8
     adequate.” Rule 23(e)(2). In evaluating fairness, the Court must consider the settlement as a
 9
     whole, rather than its component parts. Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir.
10

11   1998) (citation omitted).

12            District courts consider one or more of the following Churchill factors in deciding

13   whether to approve a class action settlement:
14            The strength of plaintiffs’ case; the risk, expense, complexity, and likely duration
              of further litigation; the risk of maintaining class action status throughout the trial,
15            the amount offered in settlement; the extent of discovery completed, and the state
              of the proceedings; the experience and views of counsel, the presence of a
16            governmental participant; and the reaction of the class members to the proposed
              settlement.
17
              Officers for Justice v. Civil Serv. Comm’n of City & Cnty. of San Francisco, 688 F.2d
18
19   615, 625 (9th Cir. 1982); Churchill Village, L.L.C. v. Gen. Elec., 361 F.3d 566, 575 (9th Cir.

20   2004). “Not all of these factors will apply to every class action settlement. Under certain
21   circumstances, one factor alone may prove determinative in finding sufficient grounds for court
22
     approval.” Nat’l Rural Telecommunications Coop. v. DIRECTV, Inc., 221 F.R.D. 523, 525-26
23
     (C.D. Cal. 2004) (citing Torrisi v. Tucson Elec. Power Co., 8 F.3d 1370, 1376 (9th Cir. 1993)).
24
              A court may not modify the terms of a negotiated settlement. Evans v. Jeff D., 475 U.S.
25

26   717, 727, 106 S. Ct. 1531, 89 L. Ed. 2d 747 (1986). Rather, the court’s inquiry must be limited to

     the extent necessary to reach a reasoned judgment that the agreement is not the product of fraud

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 1   or overreaching by, or collusion between, the settling parties, and that the settlement, taken as a
 2   whole, is fair, reasonable and adequate to all concerned. Officers for Justice, 688 F.2d at 625.
 3
     The court’s role is to protect the rights of the unnamed class members. Id. at 624.
 4
              Once this Court has an opportunity to address questions or concerns at the Fairness
 5
     Hearing, it should approve the proposed settlement. The notification requirements of Rule 23 and
 6

 7   the Class Action Fairness Act of 2005, 28 U.S.C. § 1715, have been satisfied. The relevant

 8   Churchill factors amply demonstrate that the settlement is fair, reasonable, and adequate. There

 9   is no evidence of any fraud, overreaching, or collusion, and the Parties have disclosed all
10
     agreements made in connection with the proposed settlement. Members of the Settlement Class
11
     have been given an opportunity to opt out as required by Fed. R. Civ. P. 23(c)(2)(B) and have
12
     had an opportunity to object. The reaction of Class Members has been favorable; no one has
13
     excluded themselves from the Settlement Class, and there have been no objections to the
14

15   proposed Settlement Agreement.

16                        A.   The Notification Requirements in the Preliminary Approval Order
                               Have Been Satisfied.
17
              This Court previously approved the class notice and the methods for providing notice to
18
     potential class members, finding that both met the requirements of due process and are
19

20   reasonable and the best notice practicable under the circumstances. Dkt. # 49 at ¶ 9. The Parties

21   have complied with the Court’s instructions.

22                             1.    The Settlement Class Was Notified in Accordance with Rule 23
                                     and the Court-Approved Notice Plan.
23

24            On March 14, 2018, JND, the Settlement Administrator, established a Settlement website

25   (www.bonddvdsettlement.com) that hosts copies of important case documents, answers to

26   frequently asked questions, and provides mail and e-mail contact for JND. Through the claim



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 1   filing deadline of May 29, 2018, the website also allowed users to submit a Claim Form
 2
     electronically and upload proofs of purchase. Keough Decl. ¶5
 3
              The Settlement website tracked 8,264 unique users who registered 13,970 page views.
 4

 5   Keough Decl. ¶6. JND will continue to maintain and update the website throughout the

 6   administration process. Keough Decl. ¶7.
 7                               a.     Defendants Have Complied with the Class Action Fairness Act
 8                                      of 2005.

 9            In compliance with the Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1715. JND

10   compiled a CD-ROM containing the following documents:
11            a.          Class Action Complaint filed March 6, 2017;
12
              b.          First Amended Class Action Complaint filed August 15, 2017, with Exhibit; and
13
              c.          Plaintiff’s Unopposed Motion for Conditional Certification of Settlement Class,
14
                          Preliminary Approval or Stipulation and Agreement of Settlement, Appointment
15

16                        of Class Representative, Appointment of Class Counsel, and Approval of Notice

17                        Plan filed September 26, 2017, with Exhibits. See Keough Decl. ¶3.

18            The CD-ROM was mailed overnight mail via Federal Express on February 9, 2018, to the
19
     appropriate Federal and State officials identified in the attachment with an accompanying cover
20
     letter, a copy of which is attached as Exhibit A to the Keough Declaration. Keough Decl. at ¶4.
21
                                 b.     The Notice Program Was Properly Implemented.
22
              In addition to the website, JND established a case-specific toll-free number,
23

24   1-833-380-5565, which individuals may call to obtain information regarding the Settlement.

25   During business hours, callers have the opportunity at each stage to speak to a JND associate
26



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 1   familiar with the Settlement, who can respond to common questions and provide assistance. The
 2   IVR is available 24 hours a day, seven days a week. Keough Decl. at ¶8.
 3
              As of the date of this the Keough Declaration, the toll-free number had received 59 calls,
 4
     of which JND associates have spoken with 24 callers. JND will continue to maintain the toll-
 5
     free telephone number throughout the settlement administration process. Keough Decl. at ¶9.
 6

 7            On March 15, 2018, JND caused the Publication Notice to be published in the New York

 8   Times, LA Times, and USA Today. Keough Decl. at ¶10. Copies of the Publication Notice, as

 9   they appeared in each edition of the respective publications, are as Exhibit B to the Keough
10
     Declaration.
11
              On March 15, 2018, JND published a press release on PR Newswire. Keough Decl. at
12
     ¶11. A copy of the press release as it appeared on the PR Newswire website is attached as
13
     Exhibit C to the Keough Declaration. Between March 15, 2018, and March 19, 2018, the press
14

15   release was picked up by 231 outlets with a total potential audience of more than 80,000,000.

16   Keough Decl. at ¶11.
17            On March 16, 2018, JND began an online media campaign to inform Settlement Class
18
     Members about the Settlement. Keough Decl. at ¶12. This campaign included a banner display
19
     linking to the Settlement Website in promoted posts on Facebook/Instagram and Twitter. The
20
     campaign concluded on March 29, 2018 and delivered a total of 7,803,613 impressions. Id.
21

22   Example banner advertisements are attached as Exhibit D to the Keough Declaration.

23            The Publication Notice informed Class Members that any Class Member who wanted to

24   exclude themselves from the Settlement (“opt-out”) had to mail a letter to JND stating that they
25   desired to opt out of the Settlement or otherwise not participate in the Settlement, postmarked on
26
     or before May 18, 2018. Keough Decl. at ¶13.


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 1            As of the date of the Keough Declaration, JND has not received any requests for
 2   exclusion. Keough Decl. at ¶14.
 3
              The Publication Notice informed Class Members that any Class Member who wanted to
 4
     object to the approval of the Settlement has to submit a written statement to JND via mail or e-
 5
     mail, postmarked or submitted on or before July 17, 2018. Keough Decl. at ¶15.
 6

 7            As of the date of the Keough Declaration, JND has not directly received any objections to

 8   the proposed Settlement. Keough Decl. at ¶16.

 9            The Publication Notice informed recipients that any Class Member wishing to receive a
10
     benefit under the Settlement had to complete and sign a Claim Form (including qualifying proof
11
     of purchases) and submit it to JND, postmarked on or before May 29, 2018 if sent by mail or
12
     received by May 29, 2018 if submitted by email or through the Settlement Website. Keough
13
     Decl. at ¶17.
14

15            In total, 695 Claim Forms were received and processed, of which 657 were submitted

16   electronically and 38 Claim Forms were received by mail. Keough Decl. at ¶18.
17                        B.   The Court Should Grant Final Approval to the Settlement.
18
              The Court should find that all of the relevant Churchill factors are met here. There is no
19
     evidence of any fraud, overreaching, or collusion between the settling Parties. Based on these
20
     findings, the Court should grant final approval of the Settlement Agreement under Rule 23(e).
21

22                             1.    The Strength of Plaintiff’s Case and Continued Litigation

23            This factor favors final approval. “Approval of a class settlement is appropriate when

24   plaintiffs must overcome significant barriers to make their case.” G. F. v. Contra Costa Cty., No.
25   13-CV-03667-MEJ, 2015 WL 7571789, at *8 (N.D. Cal. Nov. 25, 2015) (citing Chun-Hoon v.
26
     McKee Foods Corp., 716 F. Supp. 2d 848, 851 (N.D. Cal. 2010)). Although Plaintiff believes


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 1   that she would ultimately prevail at trial on all of her claims, she acknowledges that obtaining
 2   certification of a nationwide class may have presented her with some challenges. Absent a
 3
     nationwide class, the benefits of this action decrease and some potential class members would be
 4
     denied an opportunity to recover. Accordingly, this factor favors final approval.
 5
                             2.     The Risk, Expense, Complexity, and Likely Duration of
 6                                  Further Litigation
 7
              Although Plaintiff believes her claims are strong, the merits of those claims are balanced
 8
     by the risk, expense, and complexity of the case, as well as the likely duration of further
 9
     litigation. See In re Mego Fin. Corp. Sec. Litig., 213 F.3d 454, 458-59 (9th Cir. 2000). Should
10

11   Class Counsel proceed with litigating Plaintiff’s claims to conclusion, any recovery would likely

12   come years in the future and at far greater expense. In comparison, approval of the Settlement

13   Agreement requires Defendants to provide Class Members with the Non Franchise Films at no
14   cost to Class Members and to alter the packaging of all the James Bond Sets shipped in the
15
     United States by Defendants.
16
              Thus, while Plaintiff is confident that she would likely prevail on her claims, the
17
     Settlement Agreement provides benefits much sooner than if litigation were to continue,
18
19   compensating Class Members now and avoiding further consumer confusion as to the contents of

20   the Sets. This factor also favors final approval of the Settlement Agreement

21                           3.     The Risk of Maintaining Class Action Status throughout Trial
22
              The potential difficulties in obtaining and maintaining class certification weigh in favor
23
     in final approval. As noted above, maintaining class certification of a nationwide class may
24
     present a challenge under current law. In addition, if the parties had not settled, Defendants
25
     would have most certainly opposed Plaintiff’s’ motion for class certification and, even if the
26



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 1   Court certified the class, there is a risk the Court could later decertify it. This factor therefore
 2   favors settlement.
 3
                            4.      The Amount Offered in Settlement
 4
              This factor favors final approval. It is considered “the most important variable in
 5
     assessing a class settlement is the amount of relief obtained for the class.” In re TracFone
 6

 7   Unlimited Serv. Plan Litig., 112 F. Supp. 3d 993, 1001 (N.D. Cal. 2015), reconsideration denied,

 8   No. C-13-3440 EMC, 2015 WL 4735521 (N.D. Cal. Aug. 10, 2015). Courts evaluating the

 9   amount offered in settlement for fairness must consider the settlement as a “complete package
10
     taken as a whole, rather than the individual component parts[.]” Officers for Justice, 688 F.2d at
11
     628. The Settlement adequately and fairly compensates Class Members. In considering the
12
     amount offered in the settlement, the Court may also look at the difficulties Plaintiff would have
13
     in proceeding with litigation. In re Mego Fin. Corp. Sec. Litig., 213 F.3d 454, 459 (9th Cir.
14

15   2000). The benefits offered were discussed in Section III, parts 1 and 2. As noted in this Section,

16   the in-kind relief afforded by the Settlement Agreement provides Class Members everything that
17   they sought in litigation: possession of the Non Franchise Films. In addition, Defendants have
18
     agreed to modify – and, in fact have already modified – the packaging of the Sets and will only
19
     use the terms “all” or “every” in describing the included films on the packaging when it is clear
20
     from the packaging that it refers to the Franchise Films. The remedial and in-kind relief provides
21

22   adequate consideration for the approval of the Settlement Agreement, especially in light of the

23   uncertainty of Plaintiff’s obtaining class certification on a nationwide basis. The relief offered to

24   the Class provides it with a greater recovery that it would likely achieve through litigation, and
25   does so in a more expedient and certain manner. This factor weighs in favor of approving the
26
     Settlement Agreement.


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 1                           5.    The Extent of Discovery Completed, And the Stage of the
                                   Proceedings
 2
              “In the context of class action settlements, ‘formal discovery is not a necessary ticket to
 3

 4   the bargaining table’ where the parties have sufficient information to make an informed decision

 5   about settlement.” Linney v. Cellular Alaska Partnership, 1515 F.3d 1234, 1239 (9th Cir. 1998)
 6   (quoting In re Chicken Antitrust Litig. Am. Poultry, 669 F.2d 228, 241 (5th Cir. 1982)); see also
 7
     In re Mego Fin. Corp. Sec. Litig., 213 F.3d 454, 459 (9th Cir. 2000) as amended (June 19, 2000)
 8
     (no error approving settlement where class counsel conducted significant investigation and
 9
     worked with experts throughout litigation). Here the parties reached a settlement only after a
10

11   thorough factual investigation and exchange of informal discovery. Contemporaneously with

12   agreeing to mediation, Plaintiff requested and Defendants agreed to targeted discovery. Plaintiff

13   served upon Defendants discovery requests. The Parties then engaged into vigorous negotiations
14   to narrow the scope of the discovery. Defendants served upon Plaintiff and Plaintiff reviewed
15
     over 750 pages of documents prior to participating in the mediation. The Settlement was reached
16
     through an arm’s length negotiation with the assistance and guidance of mediator Robert
17
     Fairbank. The Parties participated in a full day mediation session. Unable to resolve all of the
18
19   issues at the end of scheduled mediation session, the Parties and the mediator continued the

20   mediation through several telephone conferences to come to a resolution. See Pha v. Yang, 2015

21   U.S. Dist. LEXIS 109074, at *13 (E.D. Cal. Aug. 17, 2015) (finding that the fact “the settlement
22
     was reached through an arms-length negotiation with the assistance of a mediator through a
23
     months long process . . . weigh[ed] in favor of approval”); Rosales v. El Rancho Farms, No.
24
     1:09-cv00707-AWI-JLT, 2015 WL 446091, at *44 (E.D. Cal. July 21, 2015) (“Notably, the
25
     Ninth Circuit has determined the ‘presence of a neutral mediator [is] a factor weighing in favor
26
     of a finding of non-collusiveness.’”) (quoting In re Bluetooth Headset Prods. Liab. Litig., 654

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 1   F.3d 935, 946 (9th Cir. 2011)); Pierce v. Rosetta Stone, Ltd., No. C 11-01283 SBA, 2013 WL
 2   5402120, at *15-16 (N.D. Cal. Sept. 26, 2013) (same). In addition, mindful that discovery was
 3
     conducted on an expedited basis and therefore limited in scope, Plaintiff’s’ counsel required that
 4
     Defendants produce confirmatory discovery to validate her previous findings, which Defendants
 5
     have done. Thus, while the parties reached the Settlement at an early phase of litigation, Class
 6

 7   Counsel’s careful and extensive review of discovery materials indicate they had sufficient

 8   information to make an informed decision about the Settlement. Accordingly, this factor favors

 9   Settlement approval.
10
                            6.      The Experience and Views of Counsel
11
              “Parties represented by competent counsel are better positioned than courts to produce a
12
     settlement that fairly reflects each party’s expected outcome in litigation.” In re Pac. Enters. Sec.
13
     Litig., 47 F.3d 373, 378 (9th Cir. 1995). Courts afford “great weight . . . to the recommendation
14

15   of counsel, who are most closely acquainted with the facts of the underlying litigation.” Nat’l

16   Rural Telecommunications Coop. v. DIRECTV, Inc., 221 F.R.D. 523, 528 (C.D. Cal. 2004)
17   (internal quotation marks omitted). Class Counsel “strongly support this settlement” because it
18
     returns Class Members to the position in which they should have been when they initially
19
     purchased the Sets and ensures that future purchasers of the Sets will clearly and accurately be
20
     notified of the contents of the Sets. This action has been litigated by experienced and competent
21

22   counsel on both sides. Defendants were represented by Munger Tolles & Olson LLP, an

23   international law firm with an abundance of experience in this type of class action litigation.

24   Class Counsel have extensive experience in consumer class action throughout the country and in
25   assessing the relevant merits of each side’s case. Moreover, the Settlement Agreement was
26
     reached through the substantial assistance of an experienced litigator Robert Fairbanks. There is


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 1   no evidence of fraud or collusion. It is Class Counsel’s informed opinion, given the uncertainty
 2   and further substantial expense and delay in pursuing this action through further discovery, trial
 3
     and appeals, and the relatively small amount at stake for each Settlement and the availability
 4
     through the Settlement Agreement of immediate relief, that the Settlement Agreement is fair,
 5
     reasonable and adequate and is in the best interests of the Settlement Class.          Therefore, this
 6

 7   factor favors final approval.

 8                            7.     The Reaction of Class Members to the Proposed Settlement

 9            The reaction of the class, specifically “the quality and quantity of any objections and the
10
     quantity of class members who opt out,” is an important factor to consider in determining
11
     whether to approve a class action. Newberg at § 13:54; see also, e.g., Nat’l Rural
12
     Telecommunications Coop., 221 F.R.D. at 528-529 (“It is established that the absence of a large
13
     number of objections to a proposed class action settlement raises a strong presumption that the
14

15   terms of a proposed class settlement action are favorable to the class members”). As a result of

16   the Notice Program approved by this Court and with which Defendants complied, the Settlement
17   Administrator received no objection or opt-out request. Keough Decl. at ¶¶ 14, 16. Class
18
     Members have overwhelmingly approved the Settlement Agreement. The complete absence of
19
     objections and opt out requests from any potential Class Members is a final and important factor
20
     weighing heavily in favor of final approval.
21

22            VI.         THE COURT SHOULD FINALLY CERTIFY THE CLASS

23            Plaintiff respectfully requests that the Court finally certify the Settlement Class defined in

24   Section 2 of the Settlement Agreement. Rule 23 governs issues of class certification whether a

25   proposed class is litigated, or as here, a settlement class. However, when “[c]onfronted with a
26
     request for settlement-only class certification, a district court need no inquire whether the case, if


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 1   tried would present intractable management problems… for the propose is that there will be no
 2   trial.” Amchem Prods. V. Windsor, 521 U.S. 591, 620 (1997).
 3
              Class certification is appropriate where: “(1) the class is so numerous that joinder of all
 4
     members is impracticable; (2) there are questions of law and fact common to the class; (3) the
 5
     claims or defenses of the representative parties are typical of the claims or defenses of the class;
 6

 7   and (4) the representative parties will fairly and adequately protect the interests of the class.”

 8   Fed. R. Civ. P. 23(a). A plaintiff must also establish that a class action may be maintained under

 9   either Rule 23(b)(1), (2), or (3). See Amchem Prods., Inc., 521 U.S. at 613.
10
              Pursuant to the Preliminary Approval Order, the Court certified the following Class
11
     defined in paragraph 3 of the Settlement Agreement for settlement purposes. Dkt. 49.
12
              All persons and entities (and their successors-in-interest, assigns, and heirs) in the
13            United States that purchased one or more of the James Bond Sets prior to January
              31, 2018. Excluded from the Settlement Class are: MGM and Fox and any person,
14            trust, firm, corporation or other entity Affiliated with or related to MGM and Fox;
              and Any persons or entities who exclude themselves by submitting a timely
15            Request for Exclusion in accordance with the requirements set forth by the Court.
16            In doing so, the Court found that the Class Representative satisfied both Rule 23(a) and
17   (b)(3) requirements, and that Class Counsel were adequate representatives of the Class. As
18
     demonstrated below, there is no reason for the Court to depart from its previous conclusion that
19
     certification of the Class is warranted.
20
                          1.   The Class Meets The Requirements Of Rule 23(a).
21

22                             a.    Numerosity

23            Rule 23(a)(1) requires the class to be “so numerous that joinder of all parties is

24   impracticable.” Fed. R. Civ. P. 23(a)(1). “A specific minimum number is not necessary, and [a]
25
     plaintiff need not state the exact number of potential class members.” Richie v. Blue Shield of
26
     Cal., 2014 WL 6982943, at *15 (N.D. Cal. Dec. 9, 2014). The numerosity requirement is easily


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 1   satisfied. There were thousands of Sets sold in the United States and thus thousands of potential
 2   Class Members. Rule 23(a)(1) is met because joinder is impossible. See Palmer v. Stassinos, 233
 3
     F.R.D. 546, 549 (N.D. Cal. 2006) (“Joinder of 1,000 or more co-plaintiffs is clearly
 4
     impractical.”).
 5
                            b.      Commonality
 6

 7            Rule 23(a)(2) mandates the existence of “questions of law or fact common to the class.”

 8   Fed. R. Civ. P. 23(a)(2). “The existence of shared legal issues with divergent factual predicates is

 9   sufficient, as is a common core of salient facts coupled with disparate legal remedies within the
10
     class.” Hanlon, 150 F.3d at 1019. Assessing commonality requires courts to have “a precise
11
     understanding of the nature of the underlying claims.” Parsons v. Ryan, 754 F.3d 657, 676 (9th
12
     Cir. 2014) (citing Amgen Inc. v. Conn. Ret. Plans & Trust Funds, 133 S. Ct. 1184, 1194–95
13
     (2013); additional citation omitted). This allows courts to determine if the class’ “claims . . .
14

15   depend upon a common contention” that is “of such a nature that it is capable of classwide

16   resolution — which means that determination of its truth or falsity will resolve an issue that is
17   central to the validity of each one of the claims in one stroke.” Dukes, 564 U.S. at 350. The
18
     commonality “analysis does not turn on the number of common questions, but on their relevance
19
     to the factual and legal issues at the core of the purported class’ claims.” Jimenez v. Allstate Ins.
20
     Co., 765 F.3d 1161, 1165 (9th Cir. 2014), cert. denied, 135 S. Ct. 2835 (2015). Rather, a single
21

22   common question of law or fact satisfies the Rule. Dukes, 564 U.S. at 369. Plaintiff satisfies the

23   commonality requirement as her claims arise from Defendants’ common course of conduct.

24   Specifically, the marketing, distribution and sale of the Sets to consumers form the basis of her
25   CPA claim and breach of warranty claims. Without class certification, individual Class Members
26
     would be forced to separately litigate the same issues of law and fact that arise from Defendants’


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 1   alleged representations on packaging of the Sets. See In re Celera Corp. Sec. Litig., 2014 WL
 2   722408, at *3 (N.D. Cal. Feb. 25, 2014) (finding commonality requirement met where plaintiffs
 3
     raised questions of law or fact that would be addressed by other putative class members pursuing
 4
     similar claims). As such, the Settlement Class representatives has satisfied Rule 23(a)(2).
 5
                             c.     Typicality
 6

 7            Rule 23(a)(3) requires that the representative parties’ claims be “typical of the claims or

 8   defenses of the class.” Fed. R. Civ. P. 23(a)(3). Typicality “assure[s] that the interest of the

 9   named representative aligns with the interests of the class.” Wolin v. Jaguar Land Rover N. Am.,
10
     LLC, 617 F.3d 1168, 1175 (9th Cir. 2010) (quoting Hanon v. Dataproducts Corp., 976 F.2d 497,
11
     508 (9th Cir. 1992)). Under this “permissive” rule, “representative claims are ‘typical’ if they are
12
     reasonably coextensive with those of absent class members; they need not be substantially
13
     identical.” Parsons, 754 F.3d at 685 (quoting Hanlon, 150 F.3d at 1020). “The test of typicality
14

15   is whether other members have the same or similar injury, whether the action is based on

16   conduct which is not unique to the named plaintiffs, and whether other class members have been
17   injured by the same course of conduct.” Evon v. Law Offices of Sidney Mickell, 688 F.3d 1015,
18
     1030 (9th Cir. 2012) (quoting Hanon v. Dataproducts Corp., 976 F.2d 497, 508 (9th Cir. 1992)).
19
     The typicality requirement is met. The Settlement Class representative’s claims are based on the
20
     same alleged facts as those brought on behalf of Class Members. The Class Representative, as
21

22   well as Class Members, all purchased one or more of the Sets. Her claims are typical because the

23   Set she bought contained the same packaging as the Sets bought by the other Class Members,

24   and as a result, the Class Representative and Class Members suffered the same injury.
25   Accordingly, Rule 23(a)(3) is satisfied.
26



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 1                           d.     Adequacy of Representation
 2            Rule 23(a)(4) requires that the representative party be able to “fairly and adequately
 3
     protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). “This requirement is rooted in due-
 4
     process concerns that absent class members must be afforded adequate representation before
 5
     entry of a judgment which binds them.’” Radcliffe v. Experian Info. Sols. Inc., 715 F.3d 1157,
 6

 7   1165 (9th Cir. 2013) (quoting Hanlon, 150 F.3d at 1020). Courts engage in a dual inquiry to

 8   determine adequate representation and ask: “‘(1) do the named plaintiffs and their counsel have

 9   any conflicts of interest with other Class Members and (2) will the named plaintiffs and their
10
     counsel prosecute the action vigorously on behalf of the class?’” Evon, 688 F.3d at 1031
11
     (quoting Hanlon, 150 F.3d at 1020).
12
              Here, Plaintiff and Class Members share common interests because the legal and
13
     remedial theories raised by Plaintiff are shared with Class Members. No conflict exits between
14

15   Plaintiff and Class Members she seeks to represent. In pursuing her own claims related to the

16   packaging of the Sets, Plaintiff has be advocated for the interests of the absent Class Members
17   and the relief provided by the Settlement Agreement benefits equally all Class Members.
18
              Further, Class Counsel are experienced practitioners in class action litigation and have
19
     vigorously advocated the interests of the Settlement Class in the course of this Action, during the
20
     mediation session and the negotiation of the Settlement Agreement. Only after Class Counsel
21

22   was satisfied that the best recovery had been negotiated for the Class did the Parties negotiate

23   payment of attorney’s fees and costs and the Class Representative Awards.

24            Accordingly, Plaintiff meets all four Rule 23(a) requirements.
25

26



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 1            Next, Plaintiff “must show that the action is maintainable under Rule 23(b)(1), (2), or
 2   (3).” Amchem Prods., Inc., 521 U.S. at 614. Plaintiff seeks certification pursuant to Rule
 3
     23(b)(3).
 4
                          2.   The Class Meets the Requirement of Rule 23(b)(3).
 5
              A class action may be maintained under Rule 23(b)(3) when “the court finds (1)) that the
 6

 7   questions of law or fact common to class members predominate over any questions affecting

 8   only individual members, and (2) that a class action is superior to other available methods for

 9   fairly and efficiently adjudicating the controversy[.]” Fed. R. Civ. P. 23(b)(3). “Rule 23(b)(3)’s
10
     predominance criterion is even more demanding than Rule 23(a).” Comcast Corp. v. Behrend,
11
     133 S. Ct. 1426, 1432 (2013).
12
              The Rule 23(b)(3) “analysis presumes that the existence of common issues of fact or law
13
     have been established pursuant to Rule 23(a)(2); thus, the presence of commonality alone is not
14

15   sufficient to fulfill Rule 23(b)(3).” Hanlon, 150 F.3d at 1022. Instead, “[t]he ‘predominance

16   inquiry tests whether proposed classes are sufficiently cohesive to warrant adjudication by
17   representation’” and requires “courts to give careful scrutiny to the relation between common
18
     and individual questions in a case.” Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036, 1045
19
     (2016) (quoting Amchem Prods., 521 U.S. at 623). Predominance is found “[w]hen common
20
     questions present a significant aspect of the case and they can be resolved for all members of the
21

22   class in a single adjudication[.]” Hanlon, 150 F.3d at 1022 (internal quotations omitted).

23            This case meets Rule 23(b)(3)’s predominance requirement. Plaintiff alleges Defendants

24   made the same representations of facts on the Sets in the same manner to all Class Members. If
25   the Court were to find that Defendants’ representations were misleading and deceptive, such a
26
     finding would apply to all of the Class Members’ claims. Plaintiff also alleges a common and


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 1   unifying injury, as her and other Class Members’ injuries arise solely from Defendants’ alleged
 2   representations as to the contents of the Sets. Accordingly, the predominance is met. The
 3
     superiority test is also satisfied. This inquiry “requires the court to determine whether
 4
     maintenance of this litigation as a class action is efficient and whether it is fair.” Wolin, 617 F.3d
 5
     at 1175-76. If Class Members were to bring individual lawsuits against Defendants, each Class
 6

 7   Member would be required to prove the same wrongful conduct to establish liability and thus

 8   would offer the same evidence. Given that Class Members number in the hundreds of thousands,

 9   there is the potential for just as many lawsuits with the possibility of inconsistent rulings and
10
     results. Further, the “risks, small recovery, and relatively high costs of litigation” make it
11
     unlikely that class members would individually pursue their claims. Just Film, Inc. v.
12
     Buono. No. 14-16132, 2017 WL 510452 (9th Cir. Feb. 7, 2017). These considerations are at the
13
     heart of why the Federal Rules of Civil Procedure allow class actions in cases where Rule 23’s
14

15   requirements are satisfied. Id. This case vividly points to the need for class treatment. The

16   individual damages of each purchaser of a Set are too small to make litigation cost effective in a case

17   against the within Defendants. Class action treatment is also superior because litigation on a
18   classwide basis will promote greater efficiency in resolving the class’s claims.
19
              Thus, classwide resolution of Plaintiff and Class Members’ claims is clearly favored over
20
     other means of adjudication, and the proposed Settlement Agreement resolves Class Members’
21
     claims at once. As such, class action treatment is superior to other methods and will efficiently
22

23   and fairly resolve the controversy. In sum, Plaintiff satisfies the Rule 23(a) and (b)(3)

24   requirements and this Court should finally certify the Settlement Class.

25

26



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 1            VII.        CONCLUSION
 2            For the foregoing reasons, Named Plaintiff and Class Counsel respectfully request that
 3
     the Court grant final approval of the Settlement Agreement and finally certify the Settlement
 4
     Class.
 5
               DATED this 12th day of July, 2018.
 6
                                                         EISENHOWER CARLSON PLLC
 7
                                                         By: /s/ Alexander S. Kleinberg
 8                                                          Alexander S. Kleinberg, WSBA # 34449
                                                            akleinberg@eisenhowerlaw.com
 9                                                          1201 Pacific Avenue, Suite 1200
                                                            Tacoma, Washington 98402
10                                                          Telephone: (253) 572-4500
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11                                                           _________________________________
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12                                                          (Admitted Pro Hac Vice)
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                                                            STATMAN HARRIS & EYRICH, LLC
15                                                          3700 Carew Tower
                                                            35 E. 7th Street, Suite 315
16                                                          Cincinnati, OH 45202
                                                            Tel: 513.621.2666
17                                                          Fax:513.621.4896
18                                                         Attorneys for Plaintiff Mary L. Johnson
19

20

21                                     CERTIFICATE OF SERVICE
22            I certify that on the date indicated below I caused a copy of the foregoing document to be
23   filed with the Clerk of the Court via the CM/ECF system. In accordance with their ECF
24   registration agreement and the Court’s rules, the Clerk of the Court will send e-mail notification
25   of such filing to the attorneys of record.
26



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 1            I affirm under penalty of perjury under the laws of the United States and the State of
 2   Washington that the foregoing is true and correct to the best of my knowledge.
 3            DATED this 12th day of July, 2018, at Tacoma, Washington.
 4
                                                 /s/ Jennifer Fernando
 5                                               JENNIFER FERNANDO
 6

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               EXHIBIT 1
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 1                                                 THE HONORABLE RICARDO S. MARTINEZ

 2

 3

 4

 5

 6

 7                               UNITED STATES DISTRICT COURT
 8                      FOR THE WESTERN DISTRICT OF WASHINGTON
 9                                            AT SEATTLE
10   MARY L. JOHNSON, individually and                Case No. 2:17-cv-00541-RSM
     on behalf of all others similarly situated,
11
                    Plaintiff,                        STIPULATION AND AGREEMENT OF
12                                                    SETTLEMENT
              vs.
13
     METRO-GOLDWYN-MAYER
14   STUDIOS INC.; TWENTIETH
     CENTURY FOX HOME
15   ENTERTAINMENT, LLC
16                  Defendants.
17

18

19

20

21

22

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26

27
     STIPULATION AND AGREEMENT OF SETTLEMENT                            LANE POWELL PC
                                                                 1420 FIFTH AVENUE, SUITE 4200
     CASE NO. 2:17-CV-00541-RSM                                           P.O. BOX 91302
                                                                    SEATTLE, WA 98111-9402
     37734147.1                                                   206.223.7000 FAX: 206.223.7107
                                                      -1-
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 1                     STIPULATION AND AGREEMENT OF SETTLEMENT
 2             Mary L. Johnson, individually (“Plaintiff”) and on behalf of the Settlement Class,1

 3   on the one hand, and Metro-Goldwyn-Mayer Studios, Inc. (“MGM”) and Twentieth Century

 4   Fox Home Entertainment LLC (“Fox”) (collectively “Defendants”) on the other hand

 5   (together with Plaintiff, “the Parties”), by and through their counsel of record in this case,

 6   hereby stipulate to the settlement and release of the claims asserted by Plaintiff and the

 7   Settlement Class against Defendants in Mary L. Johnson, et al. v. MGM Holdings, Inc., et

 8   al., United States District Court for the Western District of Washington at Seattle, Case

 9   Number 2:17-cv-00541-RSM (the “Action”), upon the terms and conditions of this

10   Stipulation and Agreement of Settlement (the “Stipulation”), subject to the approval of the

11   Court.

12                                              RECITALS
13             WHEREAS, on March 6, 2017, Mary Johnson, individually and on behalf of all
14   others similarly situated filed a putative class action complaint against Fox, MGM, MGM
15   Holdings Inc. (“MGM Holdings”), and Twenty-First Century Fox, Inc. (“Twenty-First
16   Century Fox”) in the Superior Court for the State of Washington, County of King (the
17   “Court”).
18             WHEREAS, the complaint alleged that the packaging of certain DVD and Blu-ray
19   box sets of James Bond films was misleading because the packaging used the terms “all”

20   and “every” in describing certain elements of the films but did not include two non-franchise

21   films, the 1967 film titled Casino Royale and the 1983 film titled Never Say Never Again.

22             WHEREAS, on April 7, 2017, Defendants removed the Action from the Superior

23   Court to the United States District Court.

24             WHEREAS, on April 14, 2017, Defendants filed a Motion to Dismiss and Motion to

25   Strike arguing that (1) Plaintiff failed to state a claim because the packaging was not

26

27   1
         Capitalized terms, if not defined elsewhere, are defined in the “Definitions” section below.




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 1   deceptive; (2) Plaintiff’s breach of implied warranty claim failed because there was not

 2   privity between the parties; (3) Plaintiff failed to state a claim against MGM Holdings and

 3   Twenty-First Century Fox; (4) Plaintiff’s nationwide class allegations ought to be stricken

 4   because she could not bring a nationwide class under Washington law or a class action under

 5   the laws of all 50 states; and (5) Plaintiff’s class allegations ought to be stricken because her

 6   proposed class was impermissibly overbroad.

 7          WHEREAS, on August 3, 2017 the Court issued its Order Granting in Part and

 8   Denying in Part Defendants’ Motion to Dismiss.

 9          WHEREAS, on August 15, 2017, Plaintiff filed a First Amended Class Action

10   Complaint in the United States District Court for the Western District of Washington at

11   Seattle (the “FAC”) in the Action suing MGM, Fox, Metro Goldwyn Mayer Inc.; Metro-

12   Goldwyn-Mayer Studios Inc.; Metro-Goldwyn-Mayer Home Entertainment LLC; and

13   Metro-Goldwyn-Mayer Home Entertainment Distribution Corporation.

14          WHEREAS, on August 28, 2017, this Court entered a stipulated order continuing

15   Defendants’ deadline to respond to the FAC to November 15, 2017 to allow the Parties time

16   to mediate their dispute.

17          WHEREAS, on September 19, 2017, this Court entered a stipulated order dismissing

18   without prejudice MGM Holdings Inc.; Metro Goldwyn Mayer Inc.; Metro-Goldwyn-Mayer

19   Home Entertainment LLC.; and Metro-Goldwyn-Mayer Home Entertainment Distribution

20   Corporation.

21          WHEREAS, on October 18, 2017, the Parties participated in a full day mediation

22   session with mediator Robert Fairbank and have further participated in additional telephone

23   conferences with the mediator to resolve this dispute.

24          WHEREAS, Defendants have provided to Plaintiff and Plaintiff has reviewed over

25   750 pages of documents relating to the issues raised in the FAC.

26          WHEREAS, Defendants deny all allegations of wrongdoing, fault, or liability or that

27   they have acted improperly in any way; believe that the FAC in this Action lacks merit;




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 1   would have continued to vigorously resist Plaintiff’s claims and contentions and would have

 2   continued to assert their defenses thereto had this Stipulation not been reached; and have

 3   entered into this Stipulation to put the claims to rest finally and forever solely for the

 4   purpose of avoiding prolonged and expensive litigation, without acknowledging in any way

 5   any fault, wrongdoing or liability whatsoever; and

 6          WHEREAS, Plaintiff and her counsel believe that the claims asserted in the Action

 7   are meritorious, but they have considered and weighed the issues involved in establishing

 8   the validity of their claims and have concluded that, in light of the uncertainty of the

 9   outcome as well as the substantial risks and inevitable delay in proceeding to trial, compared

10   to the benefits being provided hereby, the terms and conditions set forth herein are fair and

11   reasonable and should be submitted to the Court for approval.

12          NOW THEREFORE, without any admission or concession on the part of Plaintiff
13   of any lack of merit of the Action, and without any admission or concession on the part of

14   Defendants of any liability or wrongdoing or lack of merit in the defenses, IT IS HEREBY
15   STIPULATED AND AGREED, by and among the Parties to this Stipulation, through their
16   respective attorneys, subject to approval of the Court, in consideration of the benefits

17   flowing to the Parties hereto from the Settlement, that all Released Claims as against the

18   Released Parties shall be compromised, settled, released and judgment entered, upon and

19   subject to the following terms and conditions.

20                                           DEFINITIONS
21           1.     As used in this Stipulation, the following capitalized terms (not already

22   defined above or as may be defined below) shall have these meanings:

23                  1.1      “Action” means the action entitled Johnson, et al. vs. MGM

24   Holdings, Inc., et al., 2:17-cv-00541-RSM, now pending in the United States District Court,

25   Western District of Washington at Seattle.

26                  1.2     “Affiliate” means a second entity that is related in whole or in part to

27   the first entity as a direct or indirect parent or subsidiary, or is otherwise owned or controlled




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 1   in whole or in part by the first entity or by a direct or indirect parent or subsidiary of the first

 2   entity.

 3                   1.3     “Authorized Claimant” means a Class Member on behalf of whom a

 4   timely, valid Claim Form has been submitted.

 5                   1.4     “Claim Form” means the claim form substantially in the form

 6   attached as Exhibit 1 hereto.

 7                   1.5     “Class Counsel” means Alexander Kleinberg of Eisenhower Carlson

 8   PLLC and Alan Statman and Sylvie Derrien of Statman, Harris & Eyrich, LLC.

 9                   1.6     “Class Member” means a member of the Settlement Class.

10                   1.7     “Class Settlement Relief” means the relief set forth in Paragraph 4

11   below.

12                   1.8     “Confidential Supplemental Agreement” means the agreement so

13   entitled and signed between the Parties concurrently herewith.

14                   1.9     “Effective Date” means the date on which the Settlement

15   contemplated by this Stipulation shall become effective, as set forth in Paragraph 16 below.

16                   1.10    “Franchise Film” means a major motion picture authorized by Danjaq

17   Productions and/or Eon Productions featuring the James Bond character.

18                   1.11    “James Bond Sets” means the sets sold to the public in the United

19   States under the titles: “Bond 50: Celebrating Five Decades of Bond 007” (SKU numbers

20   M126625, M126627, M129384, M130135, M130146, M132910); “The James Bond

21   Collection” (SKU number M133433); and “The Ultimate James Bond Collection” (SKU

22   numbers M133435, M134821, M134670).

23                   1.12    “Named Plaintiff” or “Plaintiff” means Mary L. Johnson,

24   Individually.

25                   1.13    “Non-Franchise Films” means the 1967 film entitled Casino Royale

26   and the 1983 film entitled Never Say Never Again.

27                   1.14    “Notice” means the Notice of Pendency of Class Action and Proposed




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 1   Settlement, which will be publicly available to Class Members on the Internet and mailed to

 2   Class Members upon request substantially in the form attached hereto as Exhibit 2.

 3                  1.15    “Preliminary Approval Order” means the order to be entered by the

 4   Court, inter alia, directing that Notice be provided to the Settlement Class, and scheduling a

 5   hearing concerning final approval of the Settlement.

 6                  1.16     “Publication Notice” means the summary notice of proposed

 7   Settlement and Hearing for publication, substantially in the form attached hereto as

 8   Exhibit 3.

 9                  1.17    “Released Claims” means any and all actions, suits, claims, demands,

10   rights, liabilities and causes of action, of every nature and description whatsoever, whether

11   individual, class, derivative, representative, legal, equitable or any other type or in any other

12   capacity, or whether concealed or hidden, that were asserted or that could have been

13   asserted, including both known claims and Unknown Claims, that Releasing Parties had in

14   the past, now have, or might in the future have against the Released Parties on the basis of,

15   connected with, or in any way relating to or arising out of a purchase of one or more of the

16   James Bond Sets.

17                  1.18    “Released Parties” means MGM and Fox, including their respective

18   divisions and business units, and any of their respective past, present, or future parent

19   entities, associates, Affiliates, direct and indirect subsidiaries, licensees, grantees, and each

20   and all of its and their respective past, present and future officers, directors, managers,

21   stockholders, principals, employees, advisors, agents, attorneys, financial or investment

22   advisers, consultants, lenders, insurers, investment bankers, commercial bankers,

23   representatives, Affiliates, associates, parents, direct and indirect subsidiaries, joint ventures

24   and venturers, general and limited partners and partnerships, heirs, executors, trustees,

25   personal representatives, estates, administrators, trusts, licensees, grantees, licensors,

26   distributors, subdistributors, predecessors, successors and assigns.

27                  1.19    “Releasing Parties” means Plaintiff, the Settlement Class, or any




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 1   Class Member and all of their successors and assigns, heirs, agents and attorneys.

 2                   1.20   “Request for Exclusion” means a written request to be excluded from

 3   the Settlement Class submitted by a member of the Settlement Class in such form, in such

 4   manner, and within the time limitation as set forth by the Court.

 5                   1.21   “Settlement” means the settlement contemplated by this Stipulation.

 6                   1.22   “Settlement Administrator” means a company specializing in the

 7   administration of class action settlements.

 8                   1.23   “Settlement Class” means the definition set forth in Paragraph 2

 9   below.

10                   1.24   “Settlement Hearing” means the final settlement hearing to be held to

11   determine, among other things, the fairness, reasonableness, and adequacy of the Settlement.

12                   1.25   “Unknown Claims” means any and all Released Claims that the

13   Named Plaintiff, does not know of or suspect to exist in her favor at the time of the release

14   of the Released Parties which, if known by her, might have affected her agreement to the

15   Settlement. With respect to Unknown Claims, the Named Plaintiff shall be deemed to have,

16   and by operation of the settlement of the Action and upon the Effective Date shall have,

17   hereby expressly waived and relinquished, to the fullest extent permitted by law, the benefits

18   of Section 1542 of the California Civil Code (and all similar provisions from any and all

19   jurisdictions) and all provisions, rights and benefits conferred by any law of the United

20   States or of any state or territory of the United States, or principle of common law, which is

21   similar, comparable or equivalent to § 1542 of the California Civil Code, which states:

22            A general release does not extend to claims which the creditor does not
              know or suspect to exist in his or her favor at the time of executing the
23            release, which if known by him or her must have materially affected his
              or her settlement with the debtor.
24

25                   The Named Plaintiff and Defendants acknowledge, and the Released Parties

26   by operation of law shall be deemed to have acknowledged, that the inclusion of “Unknown

27   Claims” in the definition of Released Claims was specifically bargained for and a key




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 1   element of the Settlement of which this release is a part.

 2                                     SETTLEMENT CLASS
 3           2.     Definition of Settlement Class. Plaintiff shall request that the Court certify

 4   for settlement purposes only the following Settlement Class: All persons and entities (and

 5   their successors-in-interest, assigns, and heirs) in the United States that purchased one or

 6   more of the James Bond Sets prior to January 31, 2018.

 7           3.     Exclusions from Settlement Class. Excluded from the Settlement Class are:

 8                  3.1     MGM and Fox and any person, trust, firm, corporation or other entity

 9   Affiliated with or related to MGM and Fox; and

10                  3.2     Any persons or entities who exclude themselves by submitting a

11   timely Request for Exclusion in accordance with the requirements set forth by the Court.

12                                 CLASS SETTLEMENT RELIEF
13           4.     All Authorized Claimants shall receive one digital copy of each of the Non-
14   Franchise Films. If a claimant signs an affidavit stating under penalty of perjury that he/she
15   does not have access to view a digital copy, then the claimant will receive one DVD of each
16   of the Non-Franchise Films.
17                              SETTLEMENT ADMINISTRATION
18           5.     Settlement Administrator. The Parties shall engage a third-party Settlement
19   Administrator to carry out the terms of the Settlement as provided herein. Plaintiff and

20   Defendants shall jointly agree on the choice of the Settlement Administrator. Any fees or

21   expenses incurred for the use of a third-party Settlement Administrator will be paid by

22   Defendants.

23           6.     Notice. Within thirty (30) days after Preliminary Approval, the Settlement

24   Administrator shall cause the Publication Notice, substantially in the form attached hereto as

25   Exhibit 3, to be placed in major media outlets. The list of media outlets to be used for

26   Publication Notice shall be established with input from the Settlement Administrator and

27   shall include the New York Times, Los Angeles Times and USA Today. The Settlement




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 1   Administrator may also cause online advertising on Facebook, Twitter and other social

 2   media sites. The Settlement Administrator shall further issue a press release in the form of

 3   the Publication Notice to be disseminated to the major media outlets.

 4           7.     Settlement Website. The Settlement Administrator shall create a website

 5   (“Settlement Website”) with information about the Settlement. The Settlement Website

 6   shall include copies of the relevant pleadings, the Notice, the Claim Form, and provide

 7   updates to the Class Members regarding the status of the Action.

 8           8.     Authorized Claimants.

 9                  8.1     In order to receive the Class Settlement Relief, a Class Member must

10   submit a Claim Form. The Settlement Administrator shall process the Claim Forms to

11   determine whether each claimant is an Authorized Claimant. A claimant is an Authorized

12   Claimant if he/she timely signs and submits the Claim Form under penalty of perjury

13   attesting to the purchase of one or more James Bond Sets prior to January 31, 2018 and

14   provides proof of that purchase. Proof of purchase is established by a receipt, invoice, or
15   other document showing proof of purchase.
16                  8.2     The deadline for submission of the Claim Form will be 90 days after
17   the Court grants Preliminary Approval. A Claim Form shall be deemed to have been
18   submitted when posted, if received with a postmark on the envelope and if mailed by first-
19   class mail and addressed in accordance with the instructions on the Claim Form. Claim

20   forms may also be submitted by e-mail. E-mail submission of the Claim Form shall be

21   deemed to have been submitted when actually received. The originals of all Claim Forms

22   (including any envelopes with the postmarks) received from claimants shall be retained by

23   the Settlement Administrator for a year after the Effective Date. A claimant will not be an

24   Authorized Claimant if the Claim Form is received after the deadline.

25                  8.3     Any Class Member who is not an Authorized Claimant and who does

26   not file a valid Request for Exclusion will not be entitled to receive the Class Settlement

27   Relief but will otherwise be bound by all of the terms of this Stipulation and the Settlement,




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 1   including the Releases provided for herein, and will be barred from bringing any action

 2   against the Released Parties concerning the Released Claims.

 3                                     FUTURE PACKAGING
 4            9.    For any James Bond Set shipped by Defendants in the United States after

 5   January 31, 2018, Defendants will only use the terms “all” or “every” in describing the

 6   included films on the packaging when it is clear from the packaging that it refers to the

 7   Franchise Films. For avoidance of doubt, this does not apply to use of the terms “all” or

 8   “every” in regard to any other aspect of the set (e.g., all Daniel Craig James Bond films; all

 9   HD films).

10                                  PRELIMINARY APPROVAL
11            10.   Preliminary Approval Order. Plaintiff shall move the Court for entry of the
12   Preliminary Approval Order. Defendants agree, solely for purposes of effectuating the
13   Settlement, not to oppose certification of the Settlement Class. Defendants do not waive and
14   expressly reserve the right to contest class action treatment of Plaintiff’s claims in the
15   Action if the Effective Date fails to occur for any reason as set forth in Paragraph 16 below.
16         REQUESTS FOR EXCLUSION AND OPT-OUT TERMINATION RIGHT
17            11.   Requests for Exclusion. Class Members who do not wish to participate in the
18   Settlement shall submit a Request for Exclusion within the deadline established by the
19   Court.

20            12.   Termination Option. Defendants may terminate the Settlement if, ten (10)

21   days after the deadline for receiving Requests for Exclusion, it determines that the number

22   of Class Members who have submitted Requests for Exclusion exceeds levels set forth in the

23   Confidential Supplemental Agreement (the “Opt Out Threshold”). Requests for Exclusion

24   from persons or entities who do not meet the Settlement Class definition do not count

25   toward the Opt-Out Threshold. The Parties shall seek to keep the Opt-Out Threshold

26   confidential. In the event that the Court directs that the Confidential Supplemental

27   Agreement be filed prior to the deadline for submitting Requests for Exclusion, no party




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 1   shall have any right to any relief by reason of such disclosure. In the event of a termination

 2   of this Settlement pursuant to the Confidential Supplemental Agreement: (1) the provisions

 3   set forth in Paragraph 18 apply; and (2) Defendants shall pay all costs incurred by the

 4   Settlement Administrator arising out of the Stipulation.

 5                                CONFIRMATORY DISCOVERY
 6           13.    Confirmatory Discovery. Prior to the deadline for seeking final approval of

 7   the settlement, Defendants will provide the following information to Plaintiff:

 8                  13.1    Number of James Bond Sets sold to third party retailers and

 9   distributors in the United States between March 1, 2012 and September 21, 2017;

10                  13.2    Identification of any questions, complaints, inquiries, comments or

11   reports (oral or written) from consumers or others in the United States that Defendants

12   received about the James Bond Sets being incomplete and/or mislabeled that can be located

13   after a reasonable search;

14                  13.3    Identification of either Defendants’ response, if any, to such

15   questions, complaints, inquiries, comments or reports (oral or written) that can be located

16   after a reasonable search; and

17                  13.4    Affidavit from Defendants as to the accuracy of the numbers of James

18   Bond Sets sold to third party retailers and distributors in the United States; the identity of the

19   corporate representative who supervised the compilation of the sale numbers and the

20   methodology used to arrive at those numbers.

21                                    JUDGMENT AND RELEASE
22           14.    Final Judgment. Subject to Court approval, the Parties to this Stipulation

23   agree to entry of final judgment in this Action, and to providing for the releases herein.

24           15.    Release. Upon the Effective Date, Releasing Parties and each of them shall

25   be deemed to have, and by entry of judgment of the Action shall have, fully, finally and

26   forever released, relinquished, and discharged the Released Parties with respect to each and

27   every Released Claim and shall forever be enjoined from prosecuting any of the Released




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 1   Claims with respect to each and every Released Party and covenant not to sue any of the

 2   Released Parties with respect to any of the Released Claims.

 3         EFFECTIVE DATE OF SETTLEMENT, WAIVER, AND TERMINATION
 4           16.     Effective Date of Settlement. The Effective Date of Settlement shall be the

 5   date when all the following have occurred:

 6                   (a)     entry of the Preliminary Approval Order by the Court;

 7                   (b)     final approval by the Court of the Settlement, following notice to the

 8   Settlement Class and a hearing;

 9                   (c)     entry of judgment; and

10                   (d)     the expiration of any time for appeal or review, or, if any appeal is

11   filed and not dismissed, after the final approval order is upheld on appeal in all material

12   respects and is no longer subject to review upon appeal or by writ of certiorari.

13           17.     Termination after Court Disapproval or Modification. In addition to MGM

14   and Fox’s rights under Paragraph 12, Defendants or Plaintiff shall have the right to terminate
15   the Settlement and this Stipulation by providing written notice of their election to do so
16   (“Termination Notice”) to counsel for the other party hereto within thirty days of the Court’s
17   (a) declining to enter the Preliminary Approval Order; or (b) declining to approve the
18   Settlement embodied in this Stipulation, or any material part of it.
19           18.     No Prejudice in Event of Termination. If the Effective Date fails to occur for

20   any reason, (i) the Settlement shall be without prejudice and none of its terms shall be

21   effective or enforceable; (ii) the certification of the Settlement Class shall be deemed null

22   and void; (iii) each Party shall retain all of its respective rights, positions, and defenses as

23   they existed prior to execution of this Stipulation; (iv) any findings or stipulations regarding

24   certification of the Settlement Class will be automatically vacated upon notice to the Court

25   of this Stipulation’s termination or disapproval and the Action may proceed as though no

26   certification of the Settlement Class had occurred; (v) Plaintiff shall not raise or rely upon

27   any such findings, stipulations, or certification relating to the Settlement Class in connection




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 1   with any subsequent request for class certification; (vi) neither this Stipulation, nor any of its

 2   accompanying exhibits or any orders entered by the Court in connection with this

 3   Stipulation, shall be admissible or used for any purpose; and (vii) no materials shared

 4   between the parties solely for settlement discussions or settlement purposes shall be

 5   admissible or used for any purpose in the Action.

 6            ATTORNEYS’ FEES, EXPENSES, AND ENHANCEMENT AWARD
 7           19.    Attorneys’ Fees. Class Counsel will apply to the Court for an award of

 8   attorneys’ fees and expenses in an amount not to exceed $350,000.00. Defendants agree not

 9   to oppose or to submit any evidence or argument challenging or undermining such

10   application for attorneys’ fees, costs, or expenses.

11           20.    Disapproval of Fee Award. Notwithstanding anything contained herein to the

12   contrary, in the event that the Court does not approve the award of attorneys’ fees and
13   expenses requested by Class Counsel, or the Court awards attorneys’ fees and expenses in an
14   amount less than that requested by Class Counsel, such decision shall not affect the validity
15   and enforceability of the Settlement and shall not be a basis for anyone to seek to terminate
16   or void the Settlement or for rendering the entire Settlement null, void, or unenforceable.
17   Class Counsel retain their right to appeal any decision by the Court regarding the Court’s
18   award of attorneys’ fees and costs.
19           21.    Payment of Attorneys’ Fees. The amount awarded by the Court shall be

20   payable by Defendants to Class Counsel by delivery of check(s) or other negotiable

21   instrument(s) or by wire transfer(s) within thirty (30) days after the Effective Date and

22   receipt by Defendants of a complete and accurate W-9 form and other forms reasonably

23   necessary to effect payment.

24           22.    Enhancement Awards to Named Plaintiff. Plaintiff will apply to the Court

25   for an award of $5,000.00 for the Named Plaintiff for her service as the class representative.

26   The enhancement award is payable by Defendants to Class Counsel by delivery of check(s)

27   or other negotiable instrument(s) or by wire transfer(s) within thirty (30) days after the




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 1   Effective Date and receipt by Defendants of a complete and accurate W-9 form and other

 2   forms reasonably necessary to effect payment.

 3                               MISCELLANEOUS PROVISIONS
 4           23.    Exhibits Incorporated by Reference. All of the exhibits attached hereto are

 5   hereby incorporated by reference as though fully set forth herein.

 6           24.    Final and Complete Resolution. The Parties to this Stipulation intend the

 7   Settlement to be a final and complete resolution of all disputes asserted or that could be or

 8   could have been asserted by the Plaintiff, the Settlement Class, and/or any of the Class

 9   Members against the Released Parties with respect to the Released Claims and the Action.

10   Defendants agree not to assert that the Action was brought in bad faith or without a

11   reasonable basis. The Parties hereto shall assert no claims for costs or sanctions relating to

12   the prosecution, defense, or settlement of the Action.

13           25.    Settlement Fairly Negotiated. The Parties agree that the amount paid and the

14   other terms of the Settlement were negotiated at arm’s length in good faith by the Parties,
15   and reflect a settlement that was reached voluntarily by the Parties after consultation with
16   their respective experienced legal counsel.
17           26.    No Oral Modifications. This Stipulation may not be modified or amended,
18   nor may any of its provisions be waived except by a writing signed by counsel for all Parties
19   hereto or their successors-in-interest.

20           27.    Headings Have No Legal Effect. The headings herein are used for the

21   purpose of convenience only and are not meant to have legal effect.

22           28.    Court Retains Jurisdiction. The administration and consummation of the

23   Settlement as embodied in this Stipulation shall be under the authority of the Court, and the

24   Court shall retain jurisdiction for the purpose of entering orders providing for award of

25   attorneys’ fees and expenses to Class Counsel, and enforcing the terms of this Stipulation.

26           29.    Warrant of Authority. All counsel and any other person executing this

27   Stipulation and any of the exhibits hereto, or any related settlement documents, warrant and




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 1   represent that they have the full authority to do so and that they have the authority to take

 2   appropriate action required or permitted to be taken pursuant to the Stipulation to effectuate

 3   its terms.

 4           30.     Successors and Assigns. This Stipulation shall be binding upon, and inure to

 5   the benefit of, the successors and assigns of the Parties hereto.

 6           31.     Choice of Law. The construction, interpretation, operation, effect and

 7   validity of this Stipulation, and all documents necessary to effectuate it, shall be governed

 8   by the internal laws of the State of California without regard to conflicts of laws, except to

 9   the extent that preemption by federal law requires that federal law govern.

10           32.     Stipulation Jointly Drafted. This Stipulation shall not be construed more

11   strictly against one Party than another merely by virtue of the fact that it, or any part of it,
12   may have been prepared by counsel for one of the Parties, it being recognized by the Parties
13   that this Stipulation is the result of arm’s length negotiations between the Parties and that all
14   Parties have contributed substantially and materially to the preparation of this Stipulation.
15           33.     Effect of Waiver. The waiver by one party of any breach of this Stipulation
16   by any other party shall not be deemed a waiver of any other prior or subsequent breach of
17   this Stipulation.
18           34.     Integration. This Stipulation and its exhibits and the Confidential
19   Supplemental Agreement constitute the entire agreement among the Parties hereto

20   concerning the Settlement of the Action, and no representations, warranties, or inducements

21   have been made by any party hereto other than those contained and memorialized in such

22   documents.

23           35.     Execution in Counterparts. This Stipulation may be executed in one or more

24   counterparts. All executed counterparts and each of them shall be deemed to be one and the

25   same instrument. A fax, electronic and/or scanned PDF signature or other copy of a signed

26   counterpart shall be deemed an original and shall have the same force and effect as a signed

27   original.




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 I             JO.                                                     No opinion or advioe

 2   concerning the tax cofl$equences ofthe proposed                 to individual Class Members is

     being given or   will   be given by Class Counsel or coun$el for Defendants nor is any

 4   representation or warranty in this regard made by virhre      this $tipulation- Each Class

 5   Mcmbcr's tax obligatiotls, and the dctermination thereof, arc thc sole responsibility of thc

 6   Class Member, and it is undmstood that the tax                   may varT depending on the

 7   patticular circuffistsnces of each individual Class

 I             37.    Intcnt of Parties; The Parties hercto; (a)              tlat it is their intent to
 9   consur$mats this Stipulation; and (b) ngree to cooperate      the extent necessary to effectuate

10   and implement all terms and conditions ol: this Stipulati     and to exercise their best efforts

1I   and to act in good faith to accomplish the {bregoing          and conditions of the Stipulatiorr

T2
                                                         L
13   Dated:                                     MARY/                , individually and on behalf    of
                                                others simil;uly
l4    t-B\-tB
15

16
                                                By
T7

18   Dated:                                                                 YER STUDIOS INC.

19

2A
                                                By
2I
22
                                                Title:

1A   f)ated:                                    TWENTIETH          NTURY FOX HOME
                                                ENTER              \iT LLC
24

2s

26                                              By:

27                                              Title:
Case 2:17-cv-00541-RSM Document 50 Filed 07/12/18 Page 43 of 59
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              36.   No Representations About Tax Consequences. No opinion or advice

 2   concerning the tax consequences of the proposed Settlement to individual Class Members is

 3   being given or will be given by Class Counsel or counsel for Defendants nor is any

 4   representation or warranty in this regard made by virtue of this Stipulation. Each Class

 5   Member’s tax obligations, and the determination thereof, are the sole responsibility of the

 6   Class Member, and it is understood that the tax consequences may vary depending on the

 7   particular circumsiances of each individual Class Member.

 8            37.   Intent of Parties. The Parties hereto: (a) acknowledge that it is their intent to

 9   consummate this Stipulation; and (b) agree to cooperate to the extent necessary to effectuate

10   and implement aLl terms and conditions of this Stipulation and to exercise their best efforts

II   and to act in good faith to accomplish the foregoing terms and conditions of the Stipulation.

12

13   Dated:                                  MARY J. JOHNSON, individually and on behalf of
                                             others similarly situated
14

15

16
                                             By:




17

18   Dated:                                  METRO-GOLD WYN-MAYER STUDIOS INC.

19

20
                                             By:




21

22                                           Title:

23   Dated:                                  TWENTIETH CENTURY FOX HOME
                                             ENTERTAINMENT LLC
24

25

26                                           By:_____

27                                           Title:
                                                           nu’fls nane
                                                           M&stent Secretary
                                                           Twentieth Century Fox and
                                                           Twentieth Century FQ Home ntortainmnt LtD



                                                      16
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   EXHIBIT 1
               Case 2:17-cv-00541-RSM Document 50 Filed 07/12/18 Page 46 of 59

                                                                                                 FOR OFFICIAL USE ONLY
MGM-FOX JAMES BOND BOX SET CLASS SETTLEMENT
[Insert Settlement Administrator Address]
                                                                                                            01
IMPORTANT LEGAL MATERIALS
                                                                                                                 Page 1 of 2




                                                    CLAIM FORM

                                  MGM-FOX JAMES BOND BOX SET CLASS SETTLEMENT


If you wish to receive benefits from this Settlement, please complete, sign, and return this Form, with the necessary
attachments, postmarked by __________, 2018, to:


                                         MGM-Fox James Bond Box Set Class Settlement
                                                       P.O. Box 0000
                                                   City, ST 00000 [fill in]


You may also email this form and attachments by ___________________, 2018, to:

                                            [Insert Settlement Administrator Email]

You are eligible to receive the benefits of this Settlement if you purchased any of the following “James Bond Box Sets” in the
United States: “Bond 50: Celebrating Five Decades of Bond 007” (SKU numbers M126625, M126627, M129384, M130135,
M130146, M132910); “The James Bond Collection” (SKU number M133433); and “The Ultimate James Bond Collection” (SKU
numbers M133435, M134821, M134670) prior to January 31, 2018 and you timely file this Claim Form with a valid
attachment.


If you are not sure how to answer any question on this Claim Form or have questions about your rights or this
Settlement, please contact the Settlement Administrator or Class Counsel at:




                                                  [Insert contact information]




37734346.1                  QUESTIONS?   Call 1-800-000-0000 TOLL-FREE, OR VISIT WWW.[TBD].com
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                                 MGM-FOX JAMES BOND BOX SET CLASS SETTLEMENT


                                          MGM-Fox James Bond Box Set Class Settlement
                                                        P.O. Box 0000
                                                    City, ST 00000 [fill in]
                                                             Email



Please complete the information below.



Name:

Address:

City: _______________________________________________________State: ___ ___ Zip Code: ___ ___ ___ ___ ___

Email:

Title of James Bond Box Set Purchased:_________________________________________________________________

Date of Purchase:___________________________________________________________________________________

If you qualify for relief under the Settlement, you will receive one digital copy of the 1967 film entitled Casino Royale and one
digital copy of the 1983 film entitled Never Say Never Again. If you do not have access to view a digital copy, please explain
the nature of those circumstances below. Otherwise, leave this section blank.




I have attached as proof of purchase (including date of purchase) one of the following (please mark the appropriate
category):

             ____________a receipt

             ____________an invoice

             ____________another document showing proof of purchase. Please describe the document attached:




I certify under penalty of perjury that the information contained on this form is true and correct.




Signature:                                                                      Date: ___ ___ / ___ ___ / ___ ___ ___ ___

*   Your contact information is confidential and will be shared only with the Settlement Administrator and the
    lawyers for the parties in the case.




37734346.1                   QUESTIONS?   Call 1-800-000-0000 TOLL-FREE, OR VISIT WWW.[TBD].com

                                                                                                                     Page 2 of 2
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   EXHIBIT 2
               Case 2:17-cv-00541-RSM Document 50 Filed 07/12/18 Page 49 of 59
                       United District Court for the Western District of Washington

             If You Have Purchased a James Bond DVD or Blu-Ray Box Set You May Benefit from a
                                       Class Action Settlement

                  A Federal Court authorized this Notice. This is not a solicitation from a lawyer.
        A settlement has been reached in a class action lawsuit involving packaging for certain James
         Bond DVD and Blu-ray box sets distributed by Metro-Goldwyn-Studios Inc. (“MGM”) and
         Twentieth Century Fox Home Entertainment LLC (“Fox”) (collectively “Defendants”). The
         settlement is not an admission of wrongdoing and the Court has not decided who is right and
         who is wrong. Instead, the parties decided to settle the dispute.
        You may be a Class Member if you purchased any of the following James Bond DVD or Blu-
         ray box sets: “Bond 50: Celebrating Five Decades of Bond 007” (SKU numbers M126625,
         M126627, M129384, M130135, M130146, M132910); “The James Bond Collection” (SKU
         number M133433); and “The Ultimate James Bond Collection” (SKU numbers M133435,
         M134821, M134670).
        This settlement provides Class Members that timely file a valid claim form with a digital copy
         of the 1967 film entitled Casino Royale and the 1983 film entitled Never Say Never Again. You
         may receive these benefits if you qualify.
        You have to take action on or before ___________________ in order to exercise certain of your
         legal rights and options in the Settlement, which are set forth below and in this notice. Please
         read this Notice carefully. Your legal rights may be affected, whether you act or do not act.

                   SUMMARY OF YOUR LEGAL RIGHTS AND OPTIONS IN THE SETTLEMENT



FILE A CLAIM                        This is the only way to get benefits from this Settlement.



                                     Excluding yourself means you get no benefits from this
                                      Settlement.
EXCLUDE YOURSELF                     This is the only option that allows you to keep any rights you
                                      currently have to negotiate with or sue Defendants concerning the
                                      claims alleged in this case.
                                     See Questions 12–14.
OBJECT TO THIS                       If you do not exclude yourself, you may write to the Court about
SETTLEMENT                            why you do not like this Settlement. See Questions 17–18.
GO TO THE HEARING                    Ask to speak in Court about your opinion of this Settlement




37734523.1   QUESTIONS? CALL 1-___-___-____ TOLL-FREE, OR VISIT www.________________settlement.com.
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37734523.1   QUESTIONS? CALL 1-___-___-____ TOLL-FREE, OR VISIT www.________________settlement.com.
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                                          BASIC INFORMATION

 1. What is this Notice?
A Court authorized this Notice because you have a right to know about a proposed Settlement of this
class action lawsuit, and about all of your options, before the Court decides whether to give final
approval to this Settlement. This Notice explains the lawsuit, this Settlement, and your legal rights.
Judge Ricardo S. Martinez, of the United States District Court, Western District of Washington, is
overseeing this case. The case is Johnson v. MGM Holdings, Inc. et. al.. (Case No. 2:17-cv-00541-
RSM). The person who sued is called the “Plaintiff.” The “Defendants” are Metro-Goldwyn-Mayer
Studios Inc. (“MGM”) and Twentieth Century Fox Home Entertainment LLC (“Fox”).

 2. What is this lawsuit about?
This lawsuit claims that the Defendants did not properly label and market certain James Bond DVD and
Blu-ray box sets.

 3. Why is this lawsuit a class action?
In a class action lawsuit, one or more people, called “Class Representatives,” (in this case, Mary L.
Johnson) sue on behalf of people who have similar claims. All these people together are a “Class” or
“Class Members.” In a settlement of a class action, one court resolves the issues for all Class Members,
except for those who choose to exclude themselves from the Class (see Question 12).

 4. Why is there a settlement?
The Court has not determined who is right. Rather, both sides have agreed to settle the lawsuit to avoid
the uncertainties and expenses of continuing the lawsuit. By agreeing to settle, both sides avoid the cost
and risk of a trial, and the people affected will get a chance to receive benefits. The Class
Representative and her attorneys think this Settlement is best for all Class Members. This Settlement
does not mean that Defendants did anything wrong.


                                     WHO IS IN THE SETTLEMENT

 5. What is the Class definition?
Class members are all persons and entities (and their successors-in-interest, assigns, and heirs) in the
United States that purchased prior to January 31, 2018 one or more of the following James Bond DVD
or Blu-ray box sets: “Bond 50: Celebrating Five Decades of Bond 007” (SKU numbers M126625,
M126627, M129384, M130135, M130146, M132910); “The James Bond Collection” (SKU number
M133433); and “The Ultimate James Bond Collection” (SKU numbers M133435, M134821,
M134670).
Excluded from the Settlement Class are: MGM and Fox and any person, trust, firm, corporation or
other entity Affiliated with or related to MGM and Fox; and any persons or entities who exclude
themselves by submitting a timely Request for Exclusion in accordance with the requirements set forth
by the Court.



37734523.1   QUESTIONS? CALL 1-___-___-____ TOLL-FREE, OR VISIT www.________________settlement.com.
                                                     -3-
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 6. How do I know if I am part of this Settlement?
To determine if you are part of this Settlement and your rights under the Settlement, ask yourself this
series of questions:

                             Question                                   Yes                  No

Did you purchase one or more of the following James Bond
DVD or Blu-ray box sets: “Bond 50: Celebrating Five
Decades of Bond 007” (SKU numbers M126625, M126627,
                                                                                    You are not a Class
M129384, M130135, M130146, M132910); “The James          Continue
                                                                                    Member
Bond Collection” (SKU number M133433); and “The
Ultimate James Bond Collection” (SKU numbers M133435,
M134821, M134670)?

                                                                                    You are not a Class
Did you purchase it in the United States?                       Continue
                                                                                    Member

                                                                You are a Class     You are not a Class
Did you purchase it before January 31, 2018?
                                                                Member              Member



 7. I’m still not sure if I am included.
If you are still not sure whether you are included, you can get help by contacting the Settlement
Administrator using any of the methods listed in Question 22.
You are not required to pay anyone to assist you in obtaining information about the settlement.


                 THE SETTLEMENT BENEFITS—WHAT YOU GET IF YOU QUALIFY

 8. What does this Settlement Provide?
All Class Members that file a timely, valid claim form will receive one digital copy of the 1967 film
entitled Casino Royale and one digital copy of the 1983 film entitled Never Say Never Again.

  9. How do I get benefits?

If you want to receive the digital copies of the 1967 film entitled Casino Royale and the 1983 film
entitled Never Say Never Again, you must mail or email your completed Claim Form postmarked on or
before ____________ to:

                                    James Bond Box Set Class Settlement
                                           P.O. Box 0000 [fill in]
                                          City, ST 00000 [fill in]
                                           Email Address [fill in]



37734523.1   QUESTIONS? CALL 1-___-___-____ TOLL-FREE, OR VISIT www.________________settlement.com.
                                                     -4-
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Claim Forms are available at [www.___________.com].              Claim Forms are only valid if timely
submitted with proof of purchase.

 10. When will I get the films?
Digital download codes for the films will be provided to eligible Class Members after the Court grants
“final approval” of the Settlement and after any appeals are resolved.
The Court will hold a Fairness Hearing on _______________________ (Pacific time) to decide
whether to approve the Settlement. If you want to attend the hearing, keep in mind that the date
and/or time may be changed after this Notice is sent, so you should check the settlement website
(www.______________settlement.com) before making travel plans.
If the Court approves the Settlement (see Questions 19–21), there may be appeals. It’s always uncertain
whether these appeals can be resolved, and resolving them can take time. Please be patient. You can
check for updates and other important information by using any of the methods listed in Question 22.

 11. What am I giving up to get benefits and stay in the Settlement?
If this Settlement receives final approval from the Court, this Settlement will be legally binding on all
Class Members, including Class Members who object, unless you exclude yourself from the
Settlement. This means you will not be able to sue Defendants for the claims being released in this
Settlement. This Notice is only a summary. The specific claims that you are giving up against
Defendants are described in detail in the Settlement Agreement. You will be “releasing” Defendants
and all related entities (the “Released Parties”) as described in the Settlement Agreement. The
Settlement Agreement is available at www.________________settlement.com or by calling 1-___-___-
____.
If you, or someone acting on your behalf, are currently litigating claims against MGM, Fox or the other
Released Parties, you will be barred from pursuing the claims released by this Settlement unless you
validly “opt out” as described below. If you are currently litigating claims against MGM, Fox or the
other Released Parties, speak to your lawyer in that matter immediately.
The Settlement Agreement describes the released claims with specific descriptions, so read it carefully.
If you have any questions, you can talk to Class Counsel listed in Question 15or you can, of course, talk
to your own lawyer if you have questions about what this means.

 12. How do I get out of the Settlement?
To exclude yourself, you must mail a letter that includes:
  • Your full name, current address, telephone number, and signature;
  • A statement that you are a Class Member and that you “request to be excluded from the class
    settlement in the James Bond Box Set Settlement.”
You must personally sign your written “opt-out” request and email or mail it postmarked by
____________ to:
                                       James Bond Box Set Settlement
                                              [Insert Address]




37734523.1   QUESTIONS? CALL 1-___-___-____ TOLL-FREE, OR VISIT www.________________settlement.com.
                                                     -5-
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 13. If I do not exclude myself, can I sue the Defendants for the same thing later?
No. Unless you exclude yourself from the Settlement, you give up any right to sue the Defendants for
the claims that are resolved by the Settlement. If you have a pending lawsuit, speak to your lawyer in
that lawsuit immediately. Remember, the exclusion deadline is _____________________.

 14. If I exclude myself, can I get benefits from the Settlement?
No. If you exclude yourself from the Settlement, you will not be able to get any benefits from the
settlement and you cannot object to the Settlement. You will not be legally bound by anything that
happens in the Settlement.


                                      THE LAWYERS IN THE CASE

 15. Who Are the Lawyers in This Case

Class Counsel
The Court has appointed the law firms listed below to represent you and other Class Members in the
Settlement. These lawyers are called Class Counsel. If you want to be represented by your own lawyer,
you may hire one at your own expense.
If you want to contact Class Counsel about this Settlement, they can be reached through the Settlement
Administrator by calling [___________] or sending an email to [____________].

         [Insert]




 16. How Are Class Counsel being paid? Are the Class Representatives being paid?
Class Counsel will ask the Court for an award of attorneys’ fees and expenses in the Settlement (the
“Fee and Expense Award”), which will be paid by Defendants:
Attorneys’ Fees and Expenses
Class Counsel will ask the Court to approve payment to them of $350,000.00, which will be paid by
Defendants.
Incentive Awards to the Class Representative
Class Counsel will ask the Court to approve a $5,000.00 payment (called an “Incentive Award”) to
Plaintiff Mary L. Johnson. Any Incentive Award ordered by the Court will be in addition to what that
Class Representative is eligible to receive from her claim.




37734523.1   QUESTIONS? CALL 1-___-___-____ TOLL-FREE, OR VISIT www.________________settlement.com.
                                                     -6-
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                                  OBJECTING TO THE SETTLEMENT

 17. How do I tell the Court that I do not like the Settlement?
If you do not exclude yourself, you may object to the Settlement. To object, you must mail or email
your objection to the Settlement Administrator. To be timely, your objection must be mailed or emailed
to the Settlement Administrator so that it is postmarked or received by _______________ at the
following addresses:
[Insert]
You must include the following information:
    Your full name, current address, telephone number, and signature.
    The settlement to which you are objecting:
            “James Bond Box Set Settlement.”
    Your objections and the specific reasons why you object.
    State whether you intend to appear at the Fairness Hearing, either in person or through counsel.
    If you are represented by separate counsel, the name, address, bar number, and telephone number
     of all attorneys who will represent you.
    A list of any other objections submitted by you, or your separate counsel, to any class action
     settlements submitted in any court in the United States, whether state, federal or otherwise, in the
     previous five years. If you or your separate counsel has not objected to any other class action
     settlement in any court in the United States in the previous five years, you or your counsel shall
     affirmatively so state in the written objection.
Please note that any objections must be submitted by an individual Class Member, his or her legally
authorized representative, or his or her attorney—not as a member of a group, class, or subclass.

 18. What’s the difference between objecting and excluding yourself?
Objecting is simply telling the Court that you do not like something about the Settlement. You can
object to a settlement only if you stay in that settlement. Excluding yourself is telling the Court that you
do not want to be part of the Settlement. If you exclude yourself, you have no basis to object, because
the case no longer affects you. If you object, and the Court approves the Settlement anyway, you will
still be legally bound by the result.


                                  THE COURT’S FAIRNESS HEARING

 19. When and where will the Court decide whether to approve the Settlement?
The Court will hold a “Fairness Hearing” (also known as a “Final Approval Hearing”) to decide
whether to finally approve the proposed Settlement. The Fairness Hearing will be on
_____________________ before ________________ at ________________. If you want to attend the
Fairness Hearing, keep in mind that the date and/or time may be changed after this Notice is sent, so
you should check the Settlement Website (www.______________settlement.com) before making travel
plans.


37734523.1   QUESTIONS? CALL 1-___-___-____ TOLL-FREE, OR VISIT www.________________settlement.com.
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At the Fairness Hearing, the Court will consider whether the proposed Settlement and all of its terms
are adequate, fair, and reasonable. If there are objections, the Court will consider them. The Court may
listen to people who have asked for permission to speak at the Hearing and have complied with the
other requirements for objections explained in Question 17. The Court may also decide how much to
award Class Counsel for fees and expenses, and whether and how much to award the Class
Representative for representing the Class (the Incentive Award).
There is no set timeline for either the Court’s final approval decision, or for any appeals that may
be brought from that decision, so it is impossible to know exactly when the settlement will become
final.
The Court may change deadlines listed in this Notice without further notice to the Class. To keep up on
any changes in the deadlines, please contact the Settlement Administrator or review the website.

 20. Do I have to come to the Fairness Hearing?
No. Class Counsel will answer any questions asked by the Court.
If you send an objection, you do not have to come to Court to talk about it. So long as you mailed or
emailed your written objection on time and complied with the other requirements for a proper
objection, the Court will consider it. You may also pay another lawyer to attend, but it’s not required.

 21. May I speak at the Fairness Hearing?
Yes. If you submitted a proper written objection to the Settlement, you or your lawyer may, at your
own expense, come to the Fairness Hearing and speak. To do so, you must follow the procedures set
out in Question 17. You must also file a Notice of Intention to Appear, which must be mailed to the
Settlement Administrator so that it is postmarked no later than ____________________ and it must
be filed with the Clerk of the Court by that same date. If you intend to have a lawyer appear on your
behalf, your lawyer must enter a written notice of appearance of counsel with the Clerk of the Court no
later than ________________. See Question 15 for the addresses of the Settlement Administrator . You
cannot speak at the Fairness Hearing if you excluded yourself.


                                    GETTING MORE INFORMATION

 22. How do I get more information about the Settlement?
This Notice summarizes the proposed settlement. For the precise terms and conditions of the
Settlement, please see the Settlement Agreement, available at www.____________settlement.com.

                               YOU MAY OBTAIN ADDITIONAL INFORMATION BY
                                          Call the Settlement Administrator toll-free at 1-___-___-____
                             CALLING
                                           to ask questions and receive copies of documents.
                           E-MAILING      Email the Settlement Administrator at ________________

                                          Send your questions by mail to
                            WRITING
                                           [Insert]




37734523.1   QUESTIONS? CALL 1-___-___-____ TOLL-FREE, OR VISIT www.________________settlement.com.
                                                     -8-
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                                          www.___________settlement.com, where you will find
        VISITING THE SETTLEMENT
                                           answers to common questions about the Settlement, a Claim
                             WEBSITE
                                           Form, plus other information to help you.
                                          You can review the legal documents that have been filed with
                                           the Clerk of Court in this case at the United States District
 REVIEWING LEGAL DOCUMENTS                 Court for the Western District of Washington, 700 Stewart St.,
                                           Seattle, WA 98101


    PLEASE DO NOT CALL THE JUDGE OR THE COURT CLERK TO ASK QUESTIONS
            ABOUT THE LAWSUIT, THE SETTLEMENT, OR THIS NOTICE.
  THE COURT WILL NOT RESPOND TO LETTERS OR TELEPHONE CALLS. IF YOU
 WISH TO ADDRESS THE COURT, YOU MUST FILE AN APPROPRIATE PLEADING OR
 MOTION WITH THE CLERK OF THE COURT IN ACCORDANCE WITH THE COURT’S
                         USUAL PROCEDURES.
DATED: ______________, 2018                                           BY ORDER OF THE COURT




37734523.1   QUESTIONS? CALL 1-___-___-____ TOLL-FREE, OR VISIT www.________________settlement.com.
                                                     -9-
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   EXHIBIT 3
Legal Notice        Case 2:17-cv-00541-RSM Document 50 Filed 07/12/18 Page 59 of 59 Legal Notice

                              NOTICE OF PROPOSED CLASS ACTION SETTLEMENT

             If You Have Purchased a James Bond Movie Set on DVD or Blu-Ray You May Benefit from a Class Action
                                                     Settlement

What is This Settlement About?

A settlement has been reached in a class action lawsuit over how Metro-Goldwyn-Mayer Studios Inc. (“MGM”) and
Twentieth Century Fox Home Entertainment LLC (“Fox”) (collectively “Defendants”) marketed certain James Bond
movie sets. The settlement is not an admission of wrongdoing and the Court has not decided who is right and who is
wrong. Instead, the parties decided to settle the dispute.

Am I a Class Member?

You may be a Class Member if you purchased any of the following James Bond box sets on DVD or Blu-Ray: “Bond 50:
Celebrating Five Decades of Bond 007” (SKU numbers M126625, M126627, M129384, M130135, M130146, M132910);
“The James Bond Collection” (SKU number M133433); and “The Ultimate James Bond Collection” (SKU numbers
M133435, M134821, M134670). To obtain more information regarding whether you are a Class Member, please visit
www.____________ or call 1-___-___-____.

What Does the Settlement Provide?

This settlement provides Class Members that timely file a valid claim form with a digital copy of both the 1967 film
entitled Casino Royale and the 1983 film entitled Never Say Never Again. You may receive these benefits if you
qualify.

What Are My Options?

You have the following rights and options as a Class Member. You have to take action on or before ____________, 2017
in order to exercise your legal rights and options under the settlement. Please visit the
www.____________settlement.com or call 1-___-___-____ for more information on your rights and options.

                                If you believe you are a Class member and would like to receive the settlement benefits,
                                you can submit a claim form by ______ . You can only obtain the benefits of the
 FILE A CLAIM FORM
                                settlement if you timely file a valid claim form. Claim forms can be obtained at
                                www.________________settlement.com or by calling 1-___-___-____.
                                Excluding yourself means you get no benefits from this Settlement. This is the only
 EXCLUDE YOURSELF
                                option that allows you to keep any rights you currently have to negotiate with or sue
                                Defendants about the claims in this case.
 OBJECT TO THIS
                                You may write to the Court about why you do not like this Settlement.
 SETTLEMENT
                                You may ask to speak in court about your opinion of the settlement at the Fairness
 ATTEND THE FAIRNESS
                                Hearing. The Fairness Hearing is currently scheduled for_______________ at
 HEARING
                                ______________________________________________________________.
 DO NOTHING                     If you do nothing, you will still be bound by the Settlement.

How Can I Obtain More Information?

This notice summarizes the proposed settlement. You can view the complete Settlement Agreement, Long Form Notice
and certain court documents at www.______________settlement.com; or call 1-___-___-____to obtain more
information.


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